
Jules Francois Parisien, M.D., as Assignee of Darwin, Ihuoma G., Respondent,
againstAmerican Independent Ins. Co., Appellant.




Freiberg, Peck &amp; Kang, LLP (Yilo J. Kang of counsel), for appellant.
The Rybak Firm, PLLC (Damin J. Toell of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Louis L. Nock, J.), entered December 20, 2017. The order, insofar as appealed from, denied defendant's motion to dismiss the complaint.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and defendant's motion to dismiss the complaint is granted.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from so much of an order of the Civil Court as denied defendant's motion to dismiss the complaint pursuant to CPLR 3211 (a) (8).
For the reasons stated in Pierre J. Renelique, M.D., P.C., as Assignee of Vernizier, Jean Willy v American Ind. Ins. Co. (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2017-2405 K C], decided herewith), the order, insofar as appealed from, is reversed and defendant's motion to dismiss the complaint is granted.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: October 25, 2019










